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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                   2/3/2023
 MOSES,

                                   Plaintiff,
                                                               22-cv-08912 (ALC)
                       -against-
                                                               ORDER
 NATIONAL SECURITIES CORPORATION
 ET AL.,

                                   Defendants.

ANDREW L. CARTER, JR., United States District Judge:

         The Court is in receipt of the Plaintiff’s letter motion requesting a stay in above-captioned

matter pending arbitration proceedings. ECF No. 25. The Plaintiff’s unopposed request is

GRANTED. The Court hereby orders that all proceedings in this action are stayed until April 3,

2023. The parties are hereby ORDERED to submit a joint status report on the current status of this

action on April 3, 2023.

SO ORDERED.

Dated:      February 3, 2023
            New York, New York

                                                             ANDREW L. CARTER, JR.
                                                             United States District Judge
